         Case 1:18-cr-00203-BLW Document 60 Filed 11/21/19 Page 1 of 3




L. Craig Atkinson, ISB 8125
craig@craigatkinsonlaw.com
ATKINSON LAW OFFICE, PLLC
1087 W. River St., Suite 290
Boise, Idaho 83702
(208) 571-0627 (office)
(208) 898-8881 (facsimile)

                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                   Case No. 1:18-CR-203-BLW
               Plaintiff,

        v.                                         NOTICE OF APPEAL

 LONNIE PARLOR,

               Defendant.


TO:    CLERK OF THE COURT, UNITED STATES NINTH CIRCUIT COURT OF APPEALS
       KATE HORWITZ, ASSISTANT UNITED STATES ATTORNEY

       Notice is hereby given that the Defendant, Lonnie Parlor, hereby appeals to the United

States Court of Appeals for the Ninth Circuit from the Judgment entered on November 20, 2019.

Defendant appeared before the District Court, with his court appointed CJA attorney, on November

19, 2019 for sentencing hearing. The undersigned counsel represented the Defendant at the

sentencing hearing. Defendant’s financial statutes has not changed since CJA counsel was

appointed and warrants continued representation by court appointed counsel. Defendant’s current

counsel seeks to withdraw as counsel of record and have the case assigned to the Federal

Defender’s Office, or other CJA counsel to handle the appeal.

                                                Dated: November 21, 2019




NOTICE OF APPEAL – Page 1
       Case 1:18-cr-00203-BLW Document 60 Filed 11/21/19 Page 2 of 3




                                     __/s/________________________________
                                     L. Craig Atkinson
                                     Atkinson Law Office
                                     Attorney for Defendant




NOTICE OF APPEAL – Page 2
         Case 1:18-cr-00203-BLW Document 60 Filed 11/21/19 Page 3 of 3




                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY That on the 21st day of November, 2019, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which sent a Notice
of Electronic Filing to the following persons:

Kate Horwitz, Assistant US Attorney
Office of the United States Attorney
Washington Group Plaza, IV
800 Park Blvd., Suite 600
Boise, Idaho 83712
KHorwitz@usa.dog.gov




                                        /s/_________________________________________
                                        L. Craig Atkinson




NOTICE OF APPEAL – Page 3
